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16   and OTTOMOTTO LLC

17                                 UNITED STATES DISTRICT COURT
18                                NORTHERN DISTRICT OF CALIFORNIA
19                                       SAN FRANCISCO DIVISION
20   WAYMO LLC,                                              Case No.      3:17-cv-00939-WHA
21                          Plaintiff,                       SUPPLEMENTAL DECLARATION OF
                                                             MICHAEL LEBBY IN SUPPORT OF
22          v.                                               DEFENDANTS’ SUR-REPLY TO
                                                             PLAINTIFF WAYMO LLC’S MOTION
23   UBER TECHNOLOGIES, INC.,                                FOR PRELIMINARY INJUNCTION
     OTTOMOTTO LLC; OTTO TRUCKING LLC,
24                                                           Date:    May 3, 2017
                            Defendants.                      Time:    7:30 a.m.
25                                                           Ctrm:    8, 19th Floor
                                                             Judge:   The Honorable William Alsup
26
                                                             Trial Date: October 2, 2017
27
            UNREDACTED VERSION OF DOCUMENT SUBMITTED UNDER SEAL
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     SUPPLEMENTAL LEBBY DECL. ISO DEFENDANTS’ SUR-REPLY TO WAYMO’S PRELIMINARY INJUNCTION MOTION
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 1          I, Michael Lebby, Ph.D., declare as follows:

 2          1.       I have been asked by counsel for Defendants Uber Technologies, Inc. (“Uber”),

 3   and Ottomotto LLC (“Otto”) and Otto Trucking LLC (collectively, “Defendants”) to provide

 4   certain opinions in the above-captioned case in connection with Waymo LLC’s (“Waymo”)1

 5   Reply In Support of Its Motion for a Preliminary Injunction (“Reply”) and the Reply Declaration

 6   of Mr. Gregory Kintz in Support of Waymo’s Motion (“Kintz Reply Declaration”). I submit this

 7   declaration in support of Defendants’ Sur-Reply to Waymo’s Motion. I have personal knowledge

 8   of the facts set forth in this declaration and, if called to testify as a witness, could and would do so

 9   competently.

10   I.     MATERIALS CONSIDERED
11          2.       In forming my opinions and views expressed in this declaration, I have reviewed

12   and considered Waymo’s Reply brief, the Kintz Reply Declaration, the deposition transcript of

13   Mr. Kintz (“Kintz Dep. Tr.”), the deposition transcript of Daniel Gruver (“Gruver Dep. Tr.”),

14   Supplemental Declaration of James Haslim (“Supplemental Haslim Declaration”) and exhibits,

15   the Supplemental Declaration of Scott Boehmke (“Supplemental Boehmke Declaration”) and

16   exhibits, the materials identified in my opening Declaration, and other materials and information

17   that are identified in Exhibit 1 to my opening Declaration and referenced in my opening

18   Declaration. I have also spoken with Mr. Haslim and inspected the Fuji device and the Spider

19   components in person. In addition, I reviewed the fifty Waymo files attached as Exhibit 27 to this

20   Declaration.

21   II.    DIFFERENCES BETWEEN THE FUJI AND GBR3
22          3.       Mr. Kintz opines in Paragraph 38 of his Reply Declaration that I failed to counter

23   his opinion that the Fuji transmit printed circuit board (PCB) was a scaled-up version of the GBr3

24   design. According to Mr. Kintz, I only stated that the Fuji PCB edges have different curvatures

25   than the GBr3 edges. I disagree. In Paragraphs 60 to 62 of my opening Declaration, I identify

26   many differences between the Fuji PCB and the GBr3 PCB. I also state in Paragraph 62 of my

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                As used in this declaration, the term “Waymo” includes Google.

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 1    11200747.txt, 130143.txt, and 130145.txt) and confirm that they did not contain any alleged

 2    Waymo trade secrets. Though I was unable to open three PrjPcbStructure files, from experience I

 3    can confirm that these would be structure listings that do not contain substantive information of

 4    their own. I was unable to open an attrlist file and a .tools file.

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      SUPPLEMENTAL LEBBY DECL. ISO DEFENDANTS’ SUR-REPLY TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
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